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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     STEVEN OWEN,                                      Case No. 23-cv-01018-TSH
                                   8                    Plaintiff,
                                                                                           REFERRAL FOR PURPOSE OF
                                   9             v.                                        DETERMINING RELATIONSHIP
                                  10     NESTLE HEALTHCARE NUTRITION,
                                         INC.,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Civil Local Rule 3-12(c), the above-entitled case is hereby REFERRED to the

                                  14   Honorable Phyllis J. Hamilton for consideration of whether the case is related to Horti v. Nestle

                                  15   Healthcare Nutrition, Inc., 21-cv-09812-PJH.

                                  16          IT IS SO ORDERED.

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                                  18   Dated: March 7, 2023

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                                                                                                   THOMAS S. HIXSON
                                  21                                                               United States Magistrate Judge
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